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IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM’

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Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 2 ~,
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2 A}. ? a
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MDL 2179 SECTION: __ JUDGE CARL eARGER “A
“ CLAIM IN LIMITATION-JOINDER IN MASTER ANSWER-INTERVENTION AND JOINQERS,|
|_IN MASTER COMPLAINTS — PLAINTIFF TPROFILEFORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et |
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle") filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries ("B3 Bundie”)
filed in MDL No. 2179 (10 md 2179).

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Phone Number

Kaleb Wr
17-0043 “"A'Kim last Oud

/ State / Zip

INDIVIDUAL CLAIM |

“EmployerName \ | So ‘Business Name ee
“Job Title / Description = "Type of Business — |

“Address” | Address - oO |
“City / State / Zip . City / State / Zip

Last 4 digits of your Social PD - i Last 4 digits of your Tax ID Number , OO
Altorney Name Firm Name

‘Address a ! City/State/Zip ee
Phone Number a ' E-MailAddress  —™*”

Claim filed with BP? " Claim Filed with GCCF?: YES

if yes, BP Claim No.: | if yes, Claimant Identification No.:

Claim Type (Please check all that apply):
Damage or destruction ta real or personal property Fear of Future injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources

Removal and/or dean-up costs

Other:

Earmings/Profit Loss
Personal Injury/Death

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1 This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Farm is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec, Doc. 982 in MDL
2179), the filing of this farm in CA. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MOL 2179. Plaintiff Liaison Counsel, after being
notified electronicatly by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shail aiso serve in feu of the requirement of a Plaintiff to fle a Plaintiff Profile Form.

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‘Brief Description:
1. For earings/profit loss, property damage and joss of subsistence use claims, describe the nature of the injury. For claims

involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shail also serve in lie of the requirement of a Plaintiff to fife a Plaintiff Profiie Forim.

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Please check the box(es) below that you think apply to you and your claims:
“Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

0 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator ofa business involving fish ing, shrimping.
crabbing or oystering.

oO 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

0 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

Oo 4 Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Ng 5. Recreational sport fishermen, recteational diver, beachgoer, or recreational boater.
Oj 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real propert y alleged ta be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

DO &. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.

[] 3. Bank, financial institution, or retail business that suffered losses as a resutt of the spill.
Sa 10. Person who utilizes natural resources for subsistence.

(J 11. Other:

Post-Explosion Personai Injury, Medical Monitoring, and Pr amage Related to Cleanup (Bundle B3
oO 1. Boat captain or crew involved in the Vessels of Opportunity program.
oO 2. Worker involved in decontaminating vessels that came into contact with off and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

O 4. Clean-up worker ar beach personnel invoived in clean-up activities along shorelines and intercoastal and intertidal zones.
5. _‘ Resident who lives or works in close proximity to coastal waters.

C16. — Other:

Both BP and the Gulf Coast Claim $ Facility (GCCF”) are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Clgmant or Attorney Signature

Kaleb LL. Conk

Print Name

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Date

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The filing of this Direct Filing Short Form shail also serve in iow of the requirement ofa Plaintiff to file a Plaintiff Profile Form.

